Case 1:24-cv-04126-PKC-MMH Document 22-4 Filed 07/24/24 Page 1 of 14 PageID #: 336




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          Wu-Tang Clan’s ‘Shaolin’ Was Barred From
          Release Until 2103. How Is A Group Now Selling It
          For $1?
          Days after suing Martin Shkreli, the group that owns the legendary album says
          it's "being offered to the public." That's sort of true.

          By Bill Donahue | Jun 14, 2024                                                                                         




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         Case 1:24-cv-04126-PKC-MMH Document 22-4 Filed 07/24/24 Page 3 of 14 PageID #:7/24/24,
                                                                                         338 12:10 PM
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                Wu-Tang Clan
                Kyle Christy/Courtesy of Live Nation




          The blockchain group that suedMartin Shkreli to stop him from releasing Wu-Tang
          Clan’s Once Upon a Time in Shaolin is itself now selling the famed one-of-a-kind
          album to the public. But the deal comes with one small catch: buyers can’t actually
          listen to most of it.

          Days after suing the infamous Pharma Bro, PleasrDAO announced Thursday (June
          13) that Shaolin was “finally being offered to the public” for just $1 — something of a
          shocking offer considering the album’s infamous contractual restrictions that say it
          cannot be widely released until the year 2103.

          But the fine print was slightly less exciting: Buyers will only receive an “encrypted”
          version of Shaolin that they cannot actually listen to. The deal will instead unlock
          exclusive access to a five-minute audio “sampler” composed of pieces of five tracks;
          the rest of the album will remain sealed.




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         Case 1:24-cv-04126-PKC-MMH Document 22-4 Filed 07/24/24 Page 4 of 14 PageID #:7/24/24,
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          In a phone interview with Billboard on Thursday, members of PleasrDAO confirmed
          those limitations: “What people are being offered is the ability to own the encrypted
          album that they cannot listen to,” said Pleasr’s Leighton Cusack. “That will
          immediately unlock a never-heard-before sampler from the album created by the co-
          producer of the album.”

          Rather than the limitations, Pleasr stressed the other unique element of its sale: Every
          time someone buys the album, the group says it will reduce the waiting period for the
          full album’s release by 88 seconds. “It creates this ability for people to decide how
          much they value music and if they want to have this music released faster or not,”
          Cusack said.

          The sale of any amount of Shaolin, an album famous (and expensive) for its
          exclusivity, raises big questions. Even if Pleasr’s sale only allows buyers to hear five
          minutes of the album’s material, wouldn’t the widespread digital release flout Wu-
          Tang’s famed restrictions? How is it possible?




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                                                                                         340 12:10 PM
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          One possibility is that Pleasr, which bought the album from federal prosecutors after
          Shkreli forfeited it as part of his 2017 securities fraud convictions, was never subject
          to those same crazy restrictions in the first place. Another explanation could be that
          the people who imposed those rules — Wu-Tang rapper RZA and producer Cilvaringz
          — consented to the project. In social media posts, Pleasr said it had been “working
          with the original artists and producer” on the sale, suggesting Wu-Tang gave a green
          light to the project.

          Reps for the Wu-Tang Clan did not return requests for comment on their involvement
          in the project. A press release from Pleasr on Thursday included a quote from RZA
          and Cilvaringz, but it was excerpted from a statement the duo had released a decade
          ago.

          When asked directly if Shaolin’s stipulations were still in effect, or if the sale complied
          with those requirements, Pleasr representative Camilla McFarland declined to go
          deep into the details: “We can’t necessarily discuss the specifics of those agreements
          and where that all stands, but we can assure you that all of our activities and releases
          are fully compliant with the consent and blessing of artists and right holders involved,”

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         Case 1:24-cv-04126-PKC-MMH Document 22-4 Filed 07/24/24 Page 6 of 14 PageID #:7/24/24,
                                                                                         341 12:10 PM
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          she said.


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          Wu-Tang’s legendary album was recorded in secret and published just once, on a CD
          secured in an engraved nickel and silver box. Though the group intended the bizarre
          trappings as a protest against the commodification of music, Shaolin later became
                                                                                          FRthe
          ultimate commodity. In 2015, Shkreli — already infamous as the man who intentionally
          spiked the price of crucial AIDS medications — bought it at auction for $2 million.

          After Shkreli was convicted of securities fraud in 2017, he forfeited the album to
          federal prosecutors to help pay his multi-million dollar restitution sentence. Pleasr
          then bought the album from the government in 2021 for $4 million, and in 2024
          acquired the copyrights and other rights to the album for another $750,000.




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         Case 1:24-cv-04126-PKC-MMH Document 22-4 Filed 07/24/24 Page 7 of 14 PageID #:7/24/24,
                                                                                         342 12:10 PM
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          When it was initially sold, Shaolin came with much-discussed stipulations — namely,
          that the one-of-a-kind album could not be released to the general public until 2103.
          Though the deal did permit for-profit listening events at museums and other small
          venues, it strictly forbade duplicating or otherwise exploiting Shaolin “for any
          commercial or other non-commercial purposes by any means today known or that
          come to be known during said time period.”

          While Shkreli was certainly bound by those terms, it’s less clear if Pleasr was
          subjected to them when it purchased the album from prosecutors. The original 2015
          deal contained a specific provision that, in the event the album was re-sold, the same
          kooky restrictions must be passed along to the new buyer. But it’s unclear if that
          requirement survived the album being forfeited as part of a criminal case.

          Until Thursday’s digital sale, Pleasr’s use of the album had seemingly stayed within
          the bounds of the Wu-Tang’s restrictions, with only a series of small in-person events.
          Last month, the group announced an exhibit at an Australian museum, where fans
          would be able to “experience” certain songs. And this past weekend, it held a private
          listening event at the Angel Orensanz Foundation in New York City.

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         Case 1:24-cv-04126-PKC-MMH Document 22-4 Filed 07/24/24 Page 8 of 14 PageID #:7/24/24,
                                                                                         343 12:10 PM
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          But the new sale would appear to clearly exceed those original rules. Copying the
          original CD into a digital format and then selling copies across the internet would
          hardly seem to fit the contract’s original approved venues: “Buyer’s home, museums,
          art galleries, restaurants, bars, exhibition spaces, or other similar spaces not
          customarily used as venues for large musical concerts.”

          One obvious way for Pleasr to avoid the restrictions would be for the selling party that
          reached the deal with Shkreli to simply waive their rights to enforce the contract. In a
          copy of the original agreement attached to the recent lawsuit, the deal was signed by
          RZA (Robert Diggs) as the founder/chief executive of Wu-Tang Productions, Inc., and
          by Cilvaringz (Tarik Azzougarh).


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          When asked if such consent had been granted, Pleasr’s McFarland said: “At the end
          of the day, I’ll let [RZA] comment on any of that. But of course, we’ve been working
          with them in order to be able to bring this to life.”

          This article was first published by Billboard U.S.




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         Case 1:24-cv-04126-PKC-MMH Document 22-4 Filed 07/24/24 Page 11 of 14 PageID #:  346 12:10 PM
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          Hailey Bieber Opens Up About ‘Emotional’
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          Alone Time With Justin Bieber
          The couple announced they are expecting their first child together in the
          spring.

          By Rania Aniftos | 5h




          Hailey Bieber is gearing up for motherhood, and the model opened up about her
          pregnancy journey for a new W Magazine cover story.

          “I probably could have hid it until the end, but I didn’t enjoy the stress of not being able
          to enjoy my pregnancy outwardly,” she explained of announcing her pregnancy at the
          six-month mark. “I felt like I was hiding this big secret, and it didn’t feel good. I wanted
          the freedom to go out and live my life.”



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